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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA, et al.,

                       Plaintiffs,    Case No. 1:20-cv-03010-APM

v.                                    HON. AMIT P. MEHTA
GOOGLE LLC,

                       Defendant.


STATE OF COLORADO, et al.,

                       Plaintiffs,    Case No. 1:20-cv-03715-APM
v.
                                      HON. AMIT P. MEHTA
GOOGLE LLC,
                       Defendant.




       PLAINTIFF STATES’ RESPONSIVE PROPOSED FINDINGS OF FACT
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I.     Google’s Market Definition Arguments Ignore or Misapply Key Evidence

       A.      Google ignores advertiser testimony that general search ads are not
               substitutable (GFOF ¶¶ 1003-07, 1010-16, 1020-24)

       1.      Google and Plaintiffs agree that “ads markets should be defined from the

perspective of advertisers, who are the buyers of advertising.” GFOF ¶ 1016 (emphasis added). 1

At trial, Plaintiffs called live witnesses from some of Google’s largest ad buyers, such as

                                                                   Plaintiffs also called Joshua

Lowcock of ad agency IPG, which manages billions of advertising dollars for large U.S.

companies. Tr. 3801:19-3802:13; DX3004 at -444. In contrast, Google did not call a single

advertiser to provide live testimony, and instead only called its own employees and experts.

       2.      Plaintiff States rely principally on testimony from advertisers to support their

proffered ad markets, whereas Google responds mainly by citing self-serving testimony from its

employees and its own documents when it claims that advertisers view search ads as

substitutable with any other digital ad format. Compare, e.g., SFOF ¶¶ 22-29, 32, 35-38, 40-41,

44-65 with GFOF ¶¶ 1003-05, 1011-13. 2 Google’s market definition expert, Dr. Israel, also put


1
 “JFOF” refers to Plaintiffs’ Proposed Findings of Fact (Dkt. 822), “SFOF” refers to Plaintiff
States’ Proposed Findings of Fact (Dkt. 825), “GFOF” refers to Google’s Proposed Findings of
Fact (Dkt. 828), and “JRFOF” refers to Plaintiffs’ Responsive Proposed Findings of Fact.
“States Br.” refers to Plaintiff States’ Post-Trial Brief (Dkt. 823) and “Google Br.” refers to
Google’s Post-Trial Brief (Dkt. 826). “SRCOL” refers to Plaintiff States’ Responsive Proposed
Conclusions of Law.
2
  The limited advertiser testimony cited by Google confirms that advertisers buy ads in a variety
of channels because they view different ad formats as complements serving distinct purposes
across the marketing funnel. See infra ¶¶ 3-8; GFOF ¶¶ 1006-07. Google also cites testimony
from Mr. Dijk of Booking.com in which he said he “will go to whatever channel is generating
the best ROI.” GFOF ¶ 1003. Mr. Dijk explained that, like other major advertisers,
Booking.com advertises on different channels to reach customers at different points on the
marketing funnel. JFOF ¶¶ 122, 126-27, 436. It is undisputed that Booking.com allocates its ad
spend based on “several factors for each channel” (and not ROI alone), buys ads on numerous
digital ad channels, including Google, Facebook, YouTube, Tik Tok, and online display ads (and

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little reliance on advertiser testimony. Instead, he emphasized (i) the minimal “empirical

evidence” in the record; (ii) the perspective of ad sellers and tool providers; and (iii) critiques of

arguments presented by DOJ’s expert, Prof. Whinston. Tr. 8506:9-8507:11 (Israel).

       3.      Dr. Israel opined that search ads, display ads, and social ads are reasonably

interchangeable because there are instances where advertisers optimize their total ad spend by

shifting some of their budget from one ad format to another. GFOF ¶ 1010. But Dr. Israel is not

a marketing expert. 3 The record shows advertisers seek to maintain a diverse mix of

complementary ad channels to maximize their overall ROI and profits. In other words,

advertisers at times move some ad spend between ad formats to achieve the best overall use of

their advertising budget, and do not move all spend to a single, ROI-maximizing format or

channel. Id. ¶ 1010; see DX3058 at .006 (Estee Lauder invests in a variety of ad types with

differing ROIs); SFOF ¶ 64 (same for The North Face).

       4.      Advertisers target consumers across the different marketing funnel mindsets

(awareness, consideration and purchase) in order to lead consumers to complete a transaction.

SFOF ¶ 23. If, for example, an advertiser determines it is investing too much in a media channel

that targets “awareness” and not enough in a media channel that targets “purchase,” the

advertiser may rebalance its investments in order to achieve an effective overall marketing

strategy. Id. ¶ 24; Tr. 6879:7-11 (Amaldoss) (“If any firm thinks that they will invest all their

money only in the purchase phase and [ignore] the other phases, they will hurt themselves. And


not just on a single ROI-maximizing channel), and continues to buy Google search ads despite
rising customer acquisition costs. JFOF ¶¶ 126, 436; SFOF ¶¶ 84, 99; DX3114 at .042.
3
  Google served expert reports from marketing professor Dr. Randolph Bucklin, but did not call
him at trial after stating in its pre-trial brief and its opening statement that Dr. Bucklin would
offer opinions concerning ad-side market definition and purported critiques of the marketing
funnel. Dkt. 668 at 6-7; Tr. 106:20-107:1.

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that’s the idea behind the full-funnel strategy, you have to continuously balance them.”).

       5.      Advertisers shifting ad spend between ad formats is thus evidence that they use

different ad formats together as complements in a unified strategy to maximize overall ROI.

SFOF ¶¶ 23-24. While advertisers may shift some spend from one ad format to another to

achieve a desired balance across the funnel, no advertiser testified that they would substitute or

replace general search advertising with advertising in another ad channel. Tr. 6872:9-14

(Amaldoss). Mr. Lowcock of IPG explained that an advertiser “wouldn’t necessarily move [its

spend] out of a channel that might individually look like it’s not performing because you know it

actually contributes to driving media performance everywhere.” Tr. 3980:8-3981:2. He

specified that two ad products are only substitutable if one would shift budget from one product

to another “[b]ased on the purpose[s] [the advertiser] is trying to achieve” and confirmed that

advertisers do not view SVP search ads, social ads or display ads as substitutes for general search

ads because they serve different purposes for advertisers than general search ads. Tr. 3824:20-

3825:3, 3837:20-3838:8, 3862:25-3863:3, 3954:10-12, 3980:5-3981:2.

       6.      Mr. Lowcock further explained that he considers general search ads to be

“mandatory” and would not recommend that a client move away from general search ads, even if

prices increased by five percent. JFOF ¶ 498. Other advertisers likewise testified that they

would not substitute another ad channel or format for general search advertising, even if they

provide a higher ROI. SFOF ¶¶ 24, 26-27, 83-86, 99; Raymond (Kohl’s) Dep. Tr. 80:4-9, 120:2-

16 (Kohl’s has “never moved all [its] money out of Google” even though Google search is not its

highest ROI channel); Tr. 6552:9-18 (Hurst) (Expedia might “shift some spend to other

advertising channels,” but has never “spent more on social than search engine marketing”).

       7.      This understanding that different kinds of advertisements work together in pursuit



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       B.      Plaintiffs’ experts agree on search ads’ place in the marketing funnel
               (GFOF ¶¶ 1071-72)

       9.      Plaintiffs’ experts agree on the funnel stage that advertisers generally associate

with search ads. Cf. GFOF ¶¶ 1071-72. Plaintiffs’ experts uniformly testified that search ads are

lower than display and social ads—and thus are complements in a typical advertiser’s “full

funnel” advertising strategy. Plaintiff States’ marketing expert, Prof. Amaldoss, testified that

“[s]earth advertising is very effective lower in the funnel” as compared to display and social ads

because search ads help advertisers “reach consumers with higher purchase probability.” 5 Tr.

6861:25-6862:5; 6884:14-6885:2. Prof. Baker relied on Prof. Amaldoss’ testimony and likewise

testified that display ads are in a different part of funnel than search ads. Tr. 7039:7-20, 7043:8-

12 (Baker). DOJ Plaintiffs’ experts similarly testified that search ads are lower in the funnel than

display and social ads. Tr. 5391:10-23 (Jerath) (“[S]earch ads are most suited and effective for

bottom funnel goals and to some extent for mid-funnel goals”); Tr. 4638:22-4640:5 (Whinston)

(“[S]earch ads are further down in the funnel” compared to display ads).

       10.     Prof. Amaldoss testified extensively that search ads are considered lower in the

funnel than social and display ads because search ads are a form of “pull” advertising, whereas

social and display ads are “push” advertising. Tr. 6888:18-6892:90; SFOF ¶¶ 25, 26. He also

presented an empirical analysis of record evidence, which showed that no advertiser placed

display or social ads lower in the funnel than search ads. Tr. 6880:24-6884:6 (Amaldoss);

PSXD-10 (Amaldoss slides) at 17, 18. Prof. Amaldoss further explained that Google search ads

have a higher conversion rate than display ads (4.4% versus 0.57%), demonstrating that users



5
 Prof. Amaldoss also described a 2019 scholarly article relating to the marketing funnel and
explained that the funnel concept is a well-established and “very very basic” concept. Tr.
6885:15-6886:5 (Amaldoss); PSXD-10 (Amaldoss slides) at 20.

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viewing general search ads were closer to purchase (i.e., lower in the funnel) than users viewing

display ads. Tr. 6884:14-6885:13 (Amaldoss); PSXD-10 at 19. In short, Plaintiffs’ experts agree

that search ads are lower in the funnel than display and social ads, and advertiser documents and

third-party witnesses support that conclusion.

       11.     Plaintiff States’ experts further explained that SVP users are more likely to be in a

purchase mindset than general search engine (“GSE”) users because users can almost always

complete a purchase on an SVP website, but cannot complete a purchase on a GSE. Tr. 6877:4-

6877:13, 6863:23-6864:12 (Amaldoss) (SVP search ads and general search ads “play[ ] slightly

different roles” because of the need to “circulate purchase intent” to a SVP or other marketplace,

which causes advertisers to view general search ads as generally reaching users with lower

probability of purchase than SVP search ads); Tr. 7034:19-7035:19 (Baker) (contrasting ads on

GSEs, where users are more likely to be in research and consideration mindset, with ads on

SVPs, where users are typically at a “lower stage” closer to purchase); SFOF ¶¶ 28-29; accord

GFOF ¶ 944 (“And many SVPs have an advantage as compared to GSEs in that they permit not

only to search for a product or service but to complete a purchase or booking as well”). Google

employees confirmed this distinction. SFOF ¶¶ 30-31. For advertisers who sell products or

services for which an SVP does not exist, GSEs alone provide a way to reach high-intent

consumers. Tr. 6864:13-19 (Amaldoss).

       12.     Thus, there is complete consensus among Plaintiffs’ experts (and the record

generally) as to search ads’ distinct place in the marketing funnel.

       C.      Analysis of user searches should focus on search query results, not queries
               alone (GFOF ¶¶ 923, 940, 960, 964, 1042)

       13.     Dr. Israel conducted a query overlap analysis and a user session analysis. GFOF

¶¶ 923, 940, 960, 964. Both are flawed, for a similar reason. Dr. Israel admits that in the user-


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side market for search services, the product at issue is “an answer to a query,” not the query

itself. Tr. 8605:5-9 (emphasis added). But his analyses only focus on queries entered on GSEs

and SVPs, not the answers or results of those queries. GFOF ¶¶ 923, 940, 960, 964. This

distinction matters because a user that enters the same query on a GSE or an SVP is seeking

different results: the GSE user is seeking a broad range of information, whereas the SVP user is

seeking information in the SVP’s focal vertical or verticals. SFOF ¶¶ 15-21, 31. The GSE user

is also more likely to be in a research and consideration mindset and further from a purchase

mindset than the SVP user. Id.; Tr. 8753:7-23, 8918:3-24, 8528:15-20 (Israel) (Amazon and

GSEs differ because “[Amazon] can give the user exactly what the user wants” and GSEs

“respond[ ] by putting a bunch of [options] on the [results] page”); Tr. 8527:1-8528:20 (Israel)

(Google and Amazon do “different stuff” and so “it’s not surprising that I see you on Google and

Amazon for different purposes”). Dr. Israel’s overlap and user session analyses thus do not

illuminate anything about demand side substitution because they do not account for differences

in a querying user’s purpose or differences in query results.

       14.     As to his overlap analysis, Dr. Israel argued that Google, Amazon, and Yelp are

substitutes because they receive many of the same user queries. GFOF ¶¶ 960, 964. However,

mere overlap in queries does not mean a GSE and SVP are substitutes in the same market

because users are querying the websites for different purposes. JRFOF ¶¶ 2216, 2241-42. Dr.

Israel’s analysis actually demonstrates that users view GSEs and SVPs as complements because a

user often researches a topic by entering a query on a GSE, then navigates to an SVP and enters

the same query, and then makes a purchase. Tr. 8728:25-8729:5 (Israel) (“[I]t’s very common

for people to use both a general search engine and Amazon” because “you can buy stuff on

Amazon”). Indeed, Dr. Israel conceded “there are elements of complementarity between



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[Google and Amazon].” Tr. 8735:23-8736:22; SFOF ¶¶ 15-21.

       15.     Dr. Israel also opined that there is “greater overlap between Google users and

users of Meta and Amazon than between Google users and users of Bing, Yahoo, and

DuckDuckGo.” GFOF ¶ 1042. This finding further supports Plaintiffs’ ad markets. Audience

overlap (such as between Google and Amazon) suggests that products are complementary

because the same users are using the products for different purposes, and lack of audience

overlap (such as between Google and Bing) suggests that they are substitutes. 6 Indeed, Dr. Israel

acknowledged that he “would expect relatively limited overlap [in users] between the general

search engines” because it is “relatively rare” to use two GSEs, but on the other hand, it is “very

common” to use both a GSE and Amazon because Amazon does a “lot more” than answering

queries. 7 Tr. 8728:17-8729:5 (Israel).

       16.     By contrast, Dr. Baker analyzed query results, the correct user-side product.

SFOF ¶ 16. His analysis shows that while Google categorizes each query in a single vertical,

more than half of query results shown in response to a single query are in different vertical than

Google’s categorization. Id. This indicates that Dr. Israel’s reliance on Google’s query

categories is misplaced, and that a user querying on a GSE is seeking (and is provided) a breadth



6
  See Areeda & Hovenkamp, Antitrust Law: An Analysis of Antitrust Principles and Their
Application ¶ 565 (Fifth Ed. 2023) (“The reason we say that gasoline station A and adjacent
station B are in the same relevant market is that the customer does not need gasoline from both
of them. … By contrast, the driver does need both gasoline and tires, but that hardly suggest that
there is a gasoline/tire market.”).
7
  There are other flaws in Dr. Israel’s overlap analysis, including that he excluded navigational
queries while admitting that they are a “significant” type of query on GSEs, but not on SVPs.
Tr. 8748:19-8749:1. Navigational queries are some of Google’s most common queries,
including shopping-related queries like “Amazon” and “Ebay.” SFOF ¶ 33; JRFOF ¶ 2130. Dr.
Israel’s overlap analysis is therefore not an accurate comparison of query overlap between
Google and Amazon. JRFOF ¶¶ 2207, 2216.

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of information, reinforcing GSE’s one-stop shop nature. Id. ¶ 16-19. On the other hand, a user

querying on an SVP like Amazon or Yelp is more likely seeking narrower results within the

SVP’s limited focus, and to complete a transaction on the SVP’s website. Id. ¶¶ 16, 19, 20.

       17.     Dr. Israel also modified Prof. Baker’s user session analysis by compressing the

time frame for the analysis from 24-hour periods to individual “visits,” defined as time periods

that end upon five minutes of inactivity on Google. GFOF ¶¶ 923, 940. This significant

reduction in the unit of analysis reduced the number of different verticals queried in a session.

Tr. 8714:2-25, 8710:1-21 (Israel). However, the 24-hour unit of analysis is supported by

Google’s ordinary course understanding that users seeking to complete a task use Google search

services repeatedly over “numerous disjointed searches/sessions,” across multiple verticals, and

over an “often long” period of time. PSX00475 at -046 (Google travel strategy document

referring to search users’ “multi-session travel planning process”); PSX00400 at -695 (Google

hotels document indicating that online travel “generally requires numerous disjointed

searches/sessions”); PSX00255 at -387, -389 (Google recognizing that “shopping journeys are

often long” and that “more than 50% of journeys span more than a day, and 10% of journeys

span over 2 weeks”). 8 Analysis of brief “visits” also is not probative of differences in the results

users demand because GSE users receive query results spanning many verticals, even if a user

queries different verticals in a single visit. SFOF ¶¶ 16, 19, 20.

       D.      GSE results pages are distinct from GSE metasearch products
               (GFOF ¶¶ 947, 951, 958, 959, 1035)

       18.     In claiming that SVPs and GSEs compete for users and advertisers, Google


8
  Dr. Israel claimed that he followed Google’s ordinary course practice of five minutes of
inactivity to conduct his analysis, but neither he nor Google cites any document to support that
claim. Tr. 8710:4-14 (Israel). Dr. Israel also departed from his five-minute standard when he
presented another analysis at trial using thirty minutes of inactivity. Tr. 8522:18-8523:6 (Israel).

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conflates its metasearch products, like Google Flights and Google Hotels, with its general search

product. Google’s metasearch products are separate web pages for various verticals (such as

www.google.com/travel); they are not Google’s general search engine results page (the relevant

product in Plaintiffs’ user-side market). Tr. 7584:20-7585:8 (Raghavan) (admitting that DXD-

21.005 depicts Google’s hotel metasearch product, not its general search engine); SFOF ¶ 30.

Both SVPs and Google recognize that metasearch products and GSEs are distinct products

because metasearch users have “more intent” and are “probably closer to booking” than GSE

users. SFOF ¶ 32 (citing Tr. 6512:1-11 (Hurst), Tr. 9229:13-9230:8 (Holden)). Google’s

metasearch products are akin to SVPs and compete with SVPs and other metasearch products

(like Kayak or TripAdvisor), not with Google’s general search product. 9 See GFOF ¶ 947 (citing

DXD-21.005, in which Google compares SVPs like Booking.com and Hotels.com with the

“similar search results pages and interfaces” of its metasearch products).

       19.     SVPs’ securities filings likewise describe Google’s metasearch products (and not

Google’s general search product) as potential competitors. See id. ¶¶ 951, 958; DX0308 at .013

(Expedia 2022 Form 10-K: “search engines have increased their focus on acquiring or launching

travel products ... comparable to [travel SVPs]. For example, Google has continued to add

features and functionality to its Google Travel, Google Flights, and Hotel Ads travel metasearch

products.”); DX0308 at .035 (discussing Google’s prioritization of its own “metasearch products

such as, Google Hotel Ads and Google Flights, in search results”); see also Dacey (TripAdvisor)

Dep. Tr. 95:22-96:25 (TripAdvisor competes with “Google’s travel product”).

       20.     Google cites a Booking Holdings filing which states that Booking.com considers


9
  Google’s metasearch products are also referred to as Google’s “vertical products” or its “SVP
products.” See JRFOF ¶¶ 2132, 2202, 2213, 2217. Although these products have information
related to certain verticals, they differ from search results that appear on a GSE results page.

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Google to be a “serious competitor.” GFOF ¶ 951 (citing Tr. 5347:9-12 (Dijk)). However, Mr.

Dijk of Booking.com explained that Google general search ads (on the SERP) are “not a

competitor to Booking.com,” and that Kayak—a metasearch provider owned by Booking

Holdings—faces advertising competition from Google’s hotel ads that overwhelmingly appear

on Google’s metasearch product. Tr. 5348:13-19 (Dijk); see also Tr. 5311:9-5313:3 (Dijk)

(Booking.com considers ads on metasearch products including Kayak and “Google Hotel Ads”

to be different than general search ads). Booking’s 10-K lists Google and other large tech

platforms like Apple, Alibaba, and Tencent as companies “[w]e currently, or may in the future,

compete with” if they “leverage aspects of their business” into competing offerings, specifically

noting that Google is linking its “meta-search products” to its Google Maps app and “dominant

search functionality.” DX3114 at .006. This statement does not demonstrate any present

competition between SVPs and general search. Compare GFOF ¶1035 (claiming Expedia listing

Google as a competitor for advertising in its security filings) with Tr. 6565:13-19; 6574:15-

6575:4 (Hurst) (Expedia’s travel ads are “more of a comparable to Google[’s] meta product”

than Google’s text ads where “the only real comparable ... [is] Bing”).

       21.     Google also cites testimony from Mr. Nadella of Microsoft to argue that Bing

competes with SVPs for users. GFOF ¶ 959. However, Mr. Nadella in fact described the

complementary nature of SVPs and GSEs: SVPs are “reliant” on GSEs for traffic (and not vice

versa) because GSEs are the “organizing layer” of the internet. Tr. 3534:7-25 (Nadella).



II.    Google’s Admissions Further Prove That Its SA360 Conduct is Anticompetitive

       22.     It is undisputed that SA360 is alone among major SEM tools in not providing any

support for Microsoft auction-time bidding. Skai supported Microsoft auction-time bidding by

2020, and Marin and Adobe supported the feature for some bid strategies by 2022. GFOF ¶¶

                                                11
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1918-20; SFOF ¶¶ 180-84.

       23.     Other SEM tools are unburdened by Google’s incentives to operate SA360 to

harm its GSE rivals, pad its monopoly profits, and fortify its monopoly power. SFOF ¶¶ 134-43.

Consequently, all developed support for Microsoft auction-time bidding two or more years ago.

Id. ¶¶ 180-84. It is an “impactful feature” commonly requested by customers, and these

independent SEM tools all seek to provide comparable feature support across multiple GSEs. Id.

¶¶ 179-84. Microsoft auction-time bidding on Skai increased conversions by         and doubled

Home Depot’s return on ad spend. Id. ¶¶ 182-83. Google itself reported that use of auction-time

bidding by a “typical advertiser” caused a 15-30% uplift in conversions, and later found that

auction-time bidding caused a “      increase in all conversions.” GFOF ¶ 1797; SFOF ¶¶ 191,

202. For these reasons, Google described auction-time bidding as SA360’s “most critical”

feature. SFOF ¶ 173. Given all this evidence, Google itself was “not terribly surprised” when

major customers told Google that “microsoft ATB [auction-time bidding] is performing better

than intraday [bidding] (for same reason google ATB does).” Id. ¶ 204.

       24.     Although the other SEM tools all support auction-time bidding, Google’s

dominant monopoly power leaves advertisers with no choice but to advertise on Google. Id. ¶¶

145-46. As a result, Google can keep advertisers from using SEM tools other than SA360

simply by ensuring that SA360 offers superior support for advertising on Google—even though

SA360 offers inferior support for advertising on all other GSEs. Id. ¶ 147-48.

       25.     Nearly all Google trial witnesses with SA360-related knowledge no longer work

on SA360, and so at most could speculate as to the future of support for Microsoft auction-time

bidding. See Id. ¶ 242; GFOF ¶ 1748. No one from Microsoft could testify about it because

there is no evidence Microsoft has had any recent involvement in what, if anything, Google is



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currently doing. At best, Google relies on testimony from Mr. Dischler, a senior executive far

removed from the day-to-day operations of SA360, who stated (without any documentary

support) that testing of Microsoft auction-time bidding was in a “beta” phase. SFOF ¶ 242; Tr.

1126:19-24 (Dischler). His testimony was contradicted by Ryan Krueger, who said the testing

was in a “limited alpha” phase. SFOF ¶ 242. Neither Mr. Dischler, Mr. Krueger, nor any other

witnesses provided any specificity on the current state or scope of the purported testing or any

timeline for the future release of the feature.

       26.     As Google explains, “SA360 implements new or improved functions and features

based on a ‘roadmap’ planning process that incorporates input from the SA360 product team,

engineering team, and sales and business team.” GFOF ¶ 1774. In late 2019, SA360’s

completed roadmap for the first half of 2020 included initial testing for development of

Microsoft auction-time bidding. SFOF ¶ 216. Google then removed the testing from that

roadmap in March 2020 after pressure from senior employees, including Ms. Braddi, who

admitted she did not review the existing roadmap, “didn’t know what SA360 was,” and was “not

familiar [with] how auction-time bidding actually works.” Id. ¶¶ 219, 230.

       27.     Google cites several roadmaps that do not include Microsoft auction-time

bidding. GFOF ¶¶ 1822, 1825. But despite Google’s vague assertion that it is “testing” the

feature (id. ¶ 1874), it cites no product roadmap after 2020 that includes Microsoft auction-time

bidding. That is unlike Google’s treatment of its own auction-time bidding, which appeared on

several roadmaps prior to launch in September 2019. See DX0145 at -110, -141 (H2 2018

roadmap); PSX00453 at -714 (H1 2019 roadmap). This disparate treatment shows that Google is

not making serious efforts or following its usual process to develop Microsoft auction-time

bidding. Google’s stonewalling approach is stated explicitly in a 2021 internal document that



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recommends “slow-roll Byx [i.e., Microsoft auction-time bidding on SA360] by doing some

minimal work to keep it ticking over.” SFOF ¶ 243.

       28.     Auction-time bidding is not the only feature that SA360 supported for Google

advertising long before (if ever) it offered comparable support for rival GSEs. It is undisputed

that SA360 supported responsive search ads, dynamic search ads, and local inventory ads for

Google over two years before it supported them for Microsoft Ads. SFOF ¶¶ 250, 255; GFOF ¶¶

1746, 1783, 1787. These automated ad types are popular and increase the efficiency of ad spend.

SFOF ¶¶ 250-53; GFOF ¶¶ 1800-03. Yet Google provides no credible explanation for the long

delay between support for these features for Google Ads and support for the same features for

Microsoft Ads.

       29.     Google itself recognized its “delays” in supporting Microsoft Ads features,

including features that “other platforms have had support for years.” SFOF ¶ 246. Google

documents also reflect customer sentiment that other SEM tools “were better designed for

multiple engines.” Id. ¶ 249. Other Google documents acknowledge that SA360 “prioritizes

Google features” and it is built “to assist advertisers with their advertising campaigns …

primarily on Google’s platform.” Id. ¶ 147. Microsoft documents likewise state that “SA360

feature adoption lags other [SEM tools],” and Microsoft told Google in 2019 that the “[l]ast 2+

years have been light in terms of support for MSFT Adv features [on SA360].” Id. ¶¶ 246-47.

       A.      Google’s SA360 conduct can only be explained by anticompetitive intent
               (Google Br. 109-10)

       30.     Google posits various excuses for its failure to develop Microsoft auction-time

bidding and other Microsoft Ads features for SA360. None of them withstands scrutiny.

       31.     First, Google suggests it needs more time. Google Br. 109. Yet, all competing

SEM tools supported Microsoft auction-time bidding two or more years ago (supra ¶ 22), and


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after Skai integrated Google auction-time bidding in 2019, it took less than two years to integrate

comparable support for Microsoft. GFOF ¶ 1877; SFOF ¶ 181. Mr. Vallez of Skai explained

that having “already integrated Google [auction-time bidding], that simplified the process of

integrating the Microsoft [auction-time bidding].” SFOF ¶ 181. Google itself estimated that it

took “1.5 years of development analysis/testing … includ[ing] ~1 year of drafts and

experiments” to support Google auction-time bidding on SA360, and likewise projected in 2021

that it would take “78 weeks” (i.e. 1.5 years) to integrate Microsoft auction-time bidding. Id. ¶¶

208, 279. Even as an outer bound negotiating position, Ms. Braddi in 2020 proposed supporting

Microsoft auction-time bidding and several other features by August 2022. Id. ¶ 235. All of

those deadlines have long since passed.

       32.     Second, although the smaller SEM tool providers all decided to support Microsoft

auction-time bidding, Google cites “a lack of customer demand [for Microsoft auction-time

bidding]… in late 2019 and early 2020.” Google Br. 109. Auction-time bidding indisputably

provides superior results than intraday bidding, making it self-evident that SA360 customers

would benefit from access to auction-time bidding for their Bing campaigns as opposed to just

intraday bidding. SFOF ¶¶ 172, 179, 186, 190, 196, 201. In any event, the evidence shows that

Google already had notice of customer demand for Microsoft auction-time bidding by November

2019, when the SA360 sales team listed “Auction time bidding for MSFT” as a “Top 5”

requested Microsoft feature. Id. ¶ 197. That was sufficient demand to proceed with initial

testing, which would have required “little, if any, engineering work” and would have allowed

Google to further gauge customer demand and performance. Id. ¶ 276; GFOF ¶ 1796. Google

also knew at that time that its customers wanted feature parity generally and that Google auction-

time bidding already had been requested by hundreds of customers, had been found to cause



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significant uplift in conversions and revenue, and had an       adoption rate among SA360

customers. SFOF ¶¶ 131-32, 196, 198; GFOF ¶¶ 1790-91.

          33.    Thus, when two large customers told Google in 2020 that they were seeing “better

performance” and “more conversions” with Microsoft auction-time bidding, Google’s Ryan

Krueger wrote that he was “not terribly surprised microsoft ATB is performing better than

intraday (for the same reason google ATB does).” SFOF ¶¶ 203-04 (emphasis added). One of

those customers was           one of SA360’s                advertising customers. Id. ¶ 203 n.11.

By still not supporting Microsoft auction-time bidding even today, SA360 is disregarding the

demand of at least those two customers as well as Home Depot (another

advertising customer) and major ad agencies IPG (which manages billions of advertising dollars

for many large U.S. companies) and Dentsu (which manages search ad campaigns for hundreds

of customers). Id. ¶¶ 127 n.8, 172, 174 (Home Depot “found that auction-time bidding is a very

productive strategy and … our standard or default across most of our campaigns”); Tr. 3871:18-

24 (Lowcock) (“real-time auction-based bidding is generally preferred” by IPG’s clients), SFOF

¶ 206 (Dentsu “provide[d] feedback directly to representatives from SA360” about “SA360

adding support for Bing auction-time bidding”); DX3004 at -444; Alberts (Dentsu) 5/10/22 Dep.

Tr. 178:11-17.

          34.    Google’s internal surveys and planning documents also describe broad customer

demand for Microsoft auction-time bidding. In May 2020, an SA360 customer survey that

included 77 American customers listed “Auction-time bidding … [f]or MSFT advertising” and

“More Bing parity” as top customer requests. SFOF ¶ 199 (citing PSX00457 at -740, -747, -

748) 10; see also id. ¶ 200. In February 2021, a Google tracking spreadsheet listed “Auction time


10
     Google is wrong when it claims that the request for Microsoft auction-time bidding described

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bidding for MSFT” as a feature that was requested “consistently from sales/customers,” and an

internal planning document listed “[b]uilding parity with Microsoft Ads Auction-time Bidding

capabilities” as a “top priority features request[].” Id. ¶ 205.

       35.     In addition, Google’s “lack of demand” argument is unavailing because depressed

advertiser demand for non-Google GSEs is itself a direct effect of Google’s exclusionary

distribution contracts. Id. ¶¶ 146, 275, 282-84. Google cannot rely on the effects of one type of

anticompetitive conduct to justify further anticompetitive conduct. SRCOL ¶ 24.

       36.     Third, Google contends it has “technical concerns, in particular concerning

[Microsoft Ads] support for fractional conversions.” Google Br. 109-10. Google also points to

Microsoft Ads’ purported lack of support for campaign-level conversion goals and “latency”

issues. GFOF ¶¶ 1868, 1872. None of these concerns prevented all three of Google’s SEM tool

competitors from supporting Microsoft auction-time bidding at least two years ago. Supra ¶ 22.

Google now concedes that lack of fractional conversions is not a technical barrier but rather

something that would “improve[] auction-time bidding’s performance.” GFOF ¶ 1831; see also

SFOF ¶ 278. As Mr. Vallez explained, auction-time bidding is a “foundational” feature that

benefits advertisers whether or not they also use fractional conversions, Tr. 6643:2-5, and

Google does not claim that Microsoft auction-time bidding without fraction conversions would




in this document only came from a Japanese customer. GFOF ¶¶ 1857-58. Next to the listed
feature is a globe graphic with a list of “Teams who voted on the feature.” PSX00457 at -737.
Teams throughout the world, including the U.S., reported demand for Microsoft auction-time
bidding: “AMER [Americas], EMEA [Europe, Middle East, Africa], APAC [Asia-Pacific], GCS
[Global Customer Solutions].” Id. at -740. The document also is clear that a yellow comment
bubble next to Microsoft auction-time bidding means it was “raised in AMER customer survey,”
and the reference to Japanese company Rakuten is a “not exhaustive” list of customers affected
by the lack of support for the feature. Id. at -737, -740.

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be less efficient than intraday bidding. 11

        37.     Fourth, Google claims that SA360 has not integrated Microsoft auction-time

bidding due to “limited resources.” Google Br. 110. Again, all of Google’s smaller SEM tool

competitors allocated resources years ago to develop the feature having recognized that it was

both highly beneficial and popular with customers. Supra ¶ 23. Google would not proceed even

with initial testing that required “little, if any, engineering work” (SFOF ¶ 210), despite that

testing remaining on a completed 2020 roadmap after cost cutting sessions (id. ¶ 216), and

despite (as Google admits) Microsoft’s offer to “financially reimburs[e] Google for feature

development costs.” GFOF ¶ 1848; SFOF ¶ 234. Google offered no evidence that this initial

testing was too costly or resource-intensive.

        38.     Google also claims it had an outsized amount of resources devoted to its “Project

Amalgam” rebuild of SA360. Google Br. 103. Even if that was true, it is undisputed that the

new SA360 launched in early 2022 (GFOF ¶ 1783; SFOF ¶ 148), and more time has since

elapsed than even Google’s own estimates of the time needed to develop Microsoft auction-time

bidding. 12 Supra ¶ 31. Project Amalgam’s primary purpose was to provide immediate support

for Google Ads features on SA360, thus increasing the disparity in SA360’s support for Google

and rival GSEs. SFOF ¶ 148. Improving support for Google’s own search engine is at best “a



11
  Google also suggests there was “confusion” about the type of integration that Microsoft was
requesting. GFOF ¶ 1846. There was no confusion because Microsoft was clear from an initial
planning meaning in September 2019 that it sought the same level of integration as SA360 had
just released for Google auction-time bidding. SFOF ¶¶ 208-09. But even if there was
confusion (at least for Ms. Braddi), it is undisputed that Google knew exactly what Microsoft
wanted by July 2020, now well over three years ago. GFOF ¶¶ 1846, 1848; SFOF ¶ 236-38.
12
   Google’s claim of limited resources also rings hollow given that it is one of the largest
internet-services companies worldwide and in the U.S., with a market capitalization of $1.26
trillion and revenue over $282 billion. JFOF ¶ 3.

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competitively neutral goal” and, at worst, further evidence of conduct intended to harm

competition. 13

       39.        Fifth, contrary to Google’s argument, there is ample evidence that Google’s

decisions were made with ill intent toward Microsoft. Cf. Google Br. 110. Internal Google

documents state that Google’s principal reason for not supporting Microsoft Ads features was

that it considered SA360 to be a tool to support ad campaigns “primarily on Google’s platform,”

and thus requests from Microsoft for feature development were “not aligned with [Google’s]

product or business goals.” SFOF ¶¶ 222-23. Google tasked Ms. Braddi with negotiating with

Microsoft over its SA360 feature requests, despite her lack of knowledge about SA360 or

auction-time bidding. Id. ¶¶ 218-19. She then proceeded to make unreasonable demands and

raise false objections that had the desired outcome of avoiding any testing or development of

Microsoft auction-time bidding. Id. ¶¶ 234-40. Ms. Braddi’s attempts to explain Google’s

conduct and her own conduct are not credible and are contrary to the contemporaneous

documentary record. Id.

       40.        The same Google employees that professed to treating Microsoft evenhandedly

(i.e., Ms. Braddi, Amit Varia, and Ryan Krueger) also admitted to routinely destroying or

improperly withholding evidence that bears directly on Google’s intent in delaying development

of Microsoft Ads features, including documents related to “SA360 product decisions,” “product

feature road map decisions,” and SA360’s feature “prioritization process.” States Br. 31 n.8

(citing JFOF ¶¶ 1207, 1223).




13
  United States v. Microsoft, 253 F.3d 34, 72 (D.C. Cir. 2001); see also id. at 71 (keeping
customers focused on one’s own products “is not an unlawful end, but neither is it a
procompetitive justification”).

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       B.      Google’s SA360 conduct caused substantial harm to competition
               (Google Br. 105-09)

       41.     There is extensive evidence that Google’s SA360 conduct caused substantial harm

to SA360’s customers, Google’s actual and potential GSE rivals, and the competitive process in

search ad markets. SFOF ¶¶ 256-72. That is more than enough to satisfy the test the Court

described at summary judgment: “Google’s delayed rollout of SA360 support for Microsoft Ads

inhibited or dissuaded advertisers from placing ads on its competitor’s search engine, thereby

harming competition in the general search advertising market.” Dkt. 624 at 56.

       42.     Harm to customers: SA360’s degraded support for non-Google GSEs (including

Bing, DuckDuckGo, and Yahoo!) harms advertisers by decreasing the efficiency of their ad

spend on those rival GSEs. SFOF ¶¶ 257, 263. Advertisers on SA360 can use auction-time

bidding for their Google ad campaigns, but must use intraday bidding for their non-Google ad

campaigns. Id. ¶¶ 172, 190, 259. It is uncontested that auction-time bidding far outperforms

intraday bidding, increasing conversions by as much as        . Id. ¶ 202. Advertisers’ Bing,

DuckDuckGo, and Yahoo! campaigns on SA360 thus perform far worse than they would have

absent Google’s conduct, increasing their costs and decreasing return on ad spend. Id. ¶ 259.

And if advertisers decide instead to increase their ad spend on Google search ads (as Google

hopes they will), the resulting denser ad auctions further increase prices. Id. ¶ 262.

       43.     Google’s principal response is to point out that advertisers could access Microsoft

auction-time bidding on the Microsoft Ads native tool or on other SEM tools. Google Br. 107.

Google then cites a couple anecdotal examples of customers switching SEM tools. Id.

       44.     Google’s response ignores how its exclusionary distribution contracts and

longstanding monopoly power enable it to obtain and keep SA360 users by prioritizing Google

Ads features, even while delaying integration of the same features for competing GSEs. SFOF


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¶¶ 116-17, 147. Google’s dominant monopoly power leaves advertisers with no choice but to

advertise on Google, depresses demand for advertising on rival GSEs, and reduces SEM tool

interest in supporting non-Google GSEs. Id. ¶¶ 145-46. As a result, advertisers tend to use the

SEM tool that offers superior support for advertising on Google—which Google ensures is

SA360—even if that SEM tool offers inferior support for advertising on all other GSEs. Id. ¶¶

147-48; PSX00453 at -711 (“Search Ads 360 Vision” is “Best support for Google Ads”). In

other words, SA360 is “sticky” because it is able to provide greater support for Google Ads

features than competing SEM tools, and advertisers must advertise on Google due to its market

dominance. SFOF ¶ 260.

       45.     The consequence of SA360’s stickiness is that SEM tool rivals struggle to attract

customers, despite offering superior support for non-Google GSEs. Id. ¶ 150. As Mr. Vallez

testified, “greater support for Google features on SA360” makes it “more difficult to persuade

advertisers to switch to Skai from SA360.” Id. The effect of SA360’s stickiness is undisputed:

SA360’s share among SEM tools has rapidly grown in recent years, even as Google has operated

SA360 for its own benefit and at the expense of its customers and GSE rivals. Id. ¶ 151.

       46.     The costs of switching SEM tools are significant. Mr. Booth of Home Depot

testified that “it can be painful to move from a [SEM tool] to another,” requiring “a big

investment” into “retraining,” “retooling,” and a “cumbersome and painful process.” SFOF ¶

154. That process can cause loss of historical conversion data. Id. Mr. Alberts of Dentsu

testified that switching entails “a hard cost,” “an incredible amount of effort,” and “considerable

man hours … for both the client and the agency.” Id. Due to these costs, Mr. Lowcock of IPG

testified that his clients rarely switch SEM tools. Id.

       47.     There are also “sizeable” costs associated with using multiple SEM tools or an



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SEM tool and native tool concurrently. SFOF ¶ 155. For that reason, Mr. Lowcock has never

recommended “that a single advertiser use multiple SEM tools at the same time,” and an analysis

conducted by Wells Fargo concluded that using multiple SEM tools is “uncommon in the

industry.” Id.

       48.       The upshot is that Google drives up advertisers’ costs and inefficiencies in all

directions. Those that use SA360 must accept less efficient advertising. And the limited number

that do not use SA360 must incur significant short-term and long-term costs of using inferior

native or SEM tools, switching from one SEM tool to another, or multihoming.

       49.       Harm to competitors: There is also ample evidence that Google’s SA360

conduct harms Google’s GSE rivals and potential entrants. That includes Bing, DuckDuckGo,

and Yahoo!, all of which use Microsoft Ads for the purchase and placement of general search

ads. SFOF ¶¶ 263-72.

       50.       The evidence shows that advertisers using an SEM tool tend to increase their

spend on a particular GSE the more an SEM tool supports that GSE’s advertising features. Thus,

Skai’s greater support for Microsoft Ads features results in it getting a higher percentage of Bing

ad spend than the industry standard. Id. ¶ 264. And SA360 expects and has found that its

greater support for Google Ads features causes increased Google ad spend. Id. ¶ 266.

Advertisers using Google auction-time bidding on SA360 increased their Google ad spend by

  %, and Google expected that Google auction-time bidding would “drive $            billion (USD)

for Google within 2 years of launch.” Id.

       51.       SA360’s disparate support for Google Ads features increases Google’s share of

spend on SA360. Automated bidding features (like auction-time bidding) automatically allocate

and shift an advertiser’s budget between campaigns on different GSEs to optimize the spend. Id.



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¶ 158. Thus, spend on SA360 will tend to shift from campaigns using less-efficient intraday

bidding to campaigns using more-efficient auction-time bidding. This effect is described in a

Google document (“If a campaign performance is very good, i.e. cpa [cost per action] is lower

than target, [SA360] auto bidder will shift[] spend from other campaigns to it”) and

acknowledged by Google’s expert Dr. Israel (“[W]hen an advertiser uses SA360’s target return

on ad spending bid strategy, it lets SA360 decide how to allocate funds for bidding between and

among multiple search engines”). Id. It is also identified in Microsoft documents as a serious

risk of Google’s market dominance and its operation of SA360. Id. ¶ 267 (limited support for

Microsoft Ads features on SA360 means that “Bing relative ROI would suffer” and SA360’s

“algorithms would shift budget accordingly”).

       52.     This spend-shift effect is also reflected in historical data. Data presented at trial

by Dr. Israel shows that Bing’s share of total spend on SA360 decreased over five times more in

the eighteen months after SA360’s release of Google auction-time bidding in September 2019

than in the eighteen months before (2.25% after September 2019 and 0.4% before). Id. ¶ 268.

       53.     Microsoft’s ordinary course analyses point in the same direction, showing the

significant revenue consequences caused by Google’s lack of support for Microsoft auction-time

bidding and other key Microsoft Ads features. Id. ¶¶ 269-71. The estimates ranged from $

million to $    million per year in lost revenue, and were expected to increase the longer SA360

did not support the Microsoft Ads features because ad spend would continue to shift away from

less efficient Bing ad campaigns. Id.; see also PSX00744 at -236 (concluding that              of the

[lost revenue] opportunity [is] coming from [auction-time bidding] since this is the SA360

product that is creating a severe ROI imbalance between us and Google and shifting dollars

away”). These estimates provide additional evidence of anticompetitive harm.



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        54.     Google’s only response is to claim that Microsoft’s calculations are not

“substantiate[d].” Google Br. 108. Google made the same argument in its pre-trial motion in

limine, and the Court rejected it. Dkt. 683 ¶ 2. As Plaintiff States explained in their opposition

to the in limine motion, the basis for the lost revenue projections and the underlying calculations

are described both in the documents themselves and in designated deposition testimony from

Microsoft employees Mr. Utter, Mr. Indacochea, Ms. Heath, and Mr. Van der Kooi. 14 See Dkt.

648. For example, Mr. Utter explained in a contemporaneous email chain and at his deposition

the basis for his initial projection of $       million lost annual revenue and why he expected

that amount to increase to $            million. PSX00754 at -255; Utter Dep. Tr. 179:20-25,

180:24, 182:1-10. Mr. Indacochea included the exact formula for his lost-revenue calculation in

a subsequent email, and explained in that document and in his testimony that he relied on Mr.

Utter’s prior calculation. PSX00745 at -326, -328; Indacochea Dep. Tr. 229:13-25. Microsoft

also conducted the analysis twice, once in 2020 and again in 2021, and reached comparable

conclusions, further bolstering their reliability. SFOF ¶¶ 270-71. Google cross-examined all of

these witnesses at their depositions, and chose not to call any of them at trial for further

examination. In any event, even accepting some imprecision in Microsoft’s projections, that

Google’s SA360 conduct causes its chief rival to lose hundreds of millions of dollars per year—

losses that are continuing and accelerating—easily demonstrates substantial harm to competition.

        55.     Google contends Microsoft’s potential lost revenue is “a small fraction of Google

and Microsoft’s U.S. search advertising revenues.” Google Br. 108 (emphasis added). It is

incorrect to consider the aggregate effect on both Google and Microsoft. Google controls over


14
  Plaintiff States intended to call one of these Microsoft employees at trial to discuss the lost
revenue projections and other topics. As Plaintiff States informed the Court and Google’s
counsel during trial, the witness was unavailable for unexpected personal reasons.

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90% of the U.S. general search advertising market, meaning that the effect of lost revenue is felt

far greater by Microsoft given its    % share (let alone Yahoo! with its 1.7% share or

DuckDuckGo with its 0.3% share, all together totaling just 7.5%). Id. ¶ 68. Numerous

Microsoft witnesses and documents likewise describe Bing’s growing dependence on SA360

even as Google operates SA360 expressly to harm Bing and other GSEs. Id. ¶¶ 152-53 (“Search

Ads 360 is by far the largest and most influential tool provider in the Bing Ads ecosystem”;

“SA360 is the [SEM tool] category leader, with over                                  . Lack of

support in their platform introduces friction for clients and will influence adoption of features

that benefit clients”).

        56.     Harm to competition: More broadly, Google’s operation of SA360 harms the

competitive process by which GSEs attract advertising customers. SEM tools are competitively

important for Google’s rivals because advertisers that use SEM tools are more likely to advertise

on multiple GSEs (generally Google and other smaller GSEs). Id. ¶ 129. That is evident from

the fact that such advertisers choose to pay additional SEM tool fees (as opposed to using free

native tools) precisely so they can efficiently advertise on both Google and its rivals. Id. ¶ 134.

        57.     In competitive search ad markets, the relationship between GSEs, SEM tools, and

advertisers would be symbiotic: advertisers want SEM tools that provide consistent support for

multiple GSEs, SEM tools seek to provide that cross-engine support, and advertisers reward

SEM tools that offer broad cross-engine support by increasing ad spend, resulting in increased

revenue to both GSEs (through ad purchases) and the SEM tool (through usage fees). Id. ¶¶ 131-

38, 264-66. Google has leveraged its monopoly power to operate SA360 contrary to the interests

of its customers, while “disintermediat[ing]” other SEM tools and creating a “choke point” on

rival GSEs’ advertising businesses. Id. ¶¶ 151-52.



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       58.     A third of U.S. search ad revenue comes through an SEM tool and Dr. Israel

acknowledged that “SA360 makes up a … reasonably large share of total spending on Bing ads.”

Id. ¶ 153 (in 2021, about     of Bing’s revenue was through SA360). Those facts show

Microsoft’s financial reliance on SEMs tools generally and SA360 specifically, and thus

demonstrate the substantial anticompetitive harm caused by Google’s SA360 conduct. Id. ¶¶

152-53. Moreover, the subset of customers using SEM tools are of particular competitive

importance to Google’s GSE rivals because they are the actual or potential customers most

interested in advertising on multiple GSEs, as opposed to exclusively on Google. Id. ¶¶ 127-28.

       C.      Google’s SA360 conduct has no procompetitive benefit (Google Br. 110-11)

       59.     Google argues that its decisions in operating SA360 are in furtherance of

customer demand and that developing more robust support for Microsoft Ads features would

force SA360 to “put its customers’ needs to one side.” Google Br. 110. The evidence shows the

opposite: Google’s customers consistently want broader support for Microsoft Ads features

generally and auction-time bidding specifically, which is why all other SEM tools integrated

support for Microsoft auction-time bidding. SFOF ¶¶ 131-33, 179-84, 195-206.

       60.     Next, Google contends that holding it accountable for its anticompetitive conduct

would effectively “provide rivals assurances that they need not innovate, but can always force

Google to integrate their features on their proposed terms.” Google Br. 110. However, Plaintiff

States seek to ensure competitive conditions that would provide greater incentives for all

advertising platforms (including Google) to innovate by developing new native tool features, and

then seeking to convince SEM tools to integrate those features for the benefit of advertising

customers. It is precisely Google’s SA360 conduct, enabled by its monopoly power, that

discourages GSE rivals from developing new advertising features and SEM tool rivals from

supporting those features that are developed. SFOF ¶¶ 144-48.
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       61.     Finally, Google claims that its “operation of SA360 enhances and promotes

competition among search engines and their ability to compete for the advertising spend of

digital advertisers.” Google Br. 111. Google cites no evidentiary support for this statement, and

it is contradicted by Google’s continued growth in its monopoly share of general search

advertising and its dominant share among SEM tool providers. SFOF ¶¶ 68, 151.

       62.     In sum, the record demonstrates that Google consistently operates SA360 with

degraded support for rival GSEs. Google’s intent in doing so is to protect its search ad

monopolies and harm competition, and Google’s purported justifications for its conduct are

unsupported, false, and pretextual.



III.   Google’s Distribution Contracts Deprive Rivals of Scale and Restrict Their Ability
       to Enter Into Vital SVP Partnerships (GFOF ¶¶ 1736-43)

       63.     Google’s exclusionary distribution contracts deprive GSE rivals of the scale

necessary to improve the quality of their search engines and thus to effectively compete with

Google. JFOF ¶¶ 985-1066. In addition to the harms described in Plaintiffs’ Proposed Findings

of Fact (see id.), Google’s distribution contracts (i) depress demand for advertising on rival GSEs

(SFOF ¶¶ 282-84) and (ii) make rival GSEs less attractive partners for SVPs, causing them to

incur greater costs to enter into competitively necessary SVP partnerships (id. ¶¶ 285-301).

       64.     Google contests these additional harms by claiming that Plaintiff States “failed to

prove anticompetitive harm relating to rivals’ ability to partner with SVPs.” See GFOF ¶¶ 1736-

73. However, the evidence Google cites either confirms Plaintiff States’ position or is irrelevant

because Google misconstrues the nature of the harm.

       65.     Many SVPs make substantial investments in collecting, organizing, and updating

valuable data, such as up-to-date information about travel destinations or local businesses. Tr.


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6173:14-6174:6 (Barrett-Bowen). Partnering with SVPs to obtain that data is an important way

for GSEs to improve the quality of their search results. Id.; Tr. 2677:10-2678:9 (Parakhin).

However, Bing’s low user scale—the consequence of Google’s anticompetitive conduct—

restricts or makes it more costly for Bing to enter into these vital SVP partnerships. SFOF ¶¶

285-95; Tr. 6232:23-6234:7 (Barrett-Bowen).

       66.     For example, Google admits that Yelp sought to end its data-for-traffic

partnership with Bing in part because Bing drove insufficient user traffic to Yelp. GFOF ¶

1741(1)(c); SFOF ¶ 294. The Bing-Yelp partnership ended when Yelp demanded

from Microsoft for a content agreement, which was                    of Microsoft’s entire content

partnership budget. GFOF ¶¶ 1741(1)(e)-(f); SFOF ¶ 293.

       67.     Google also admits that Hopper declined to partner with Bing, but ignores

evidence that Hopper made this decision due to Bing’s limited “penetration and [] distribution.”

GFOF ¶ 1741(2)(c); Tr. 6187:20-6188:10 (Barrett-Bowen). Bing’s small scale is also the “sole

reason” Microsoft does not have partnerships with car rental sources other than Kayak. Tr.

6190:4-20 (Barrett-Bowen); SFOF ¶ 296.

       68.     Google claims that “Microsoft’s failure to reach a partnership” with Yelp,

Hopper, and other SVPs could not have harmed Microsoft because Google did not partner with

them. See GFOF ¶¶ 1741(1)(j), (2)(e), (4)(c). But it is precisely by offering a differentiated

product that smaller rivals might effectively compete with Google.

       69.     Indeed, Bing and other non-Google GSEs are often more reliant than Google on

SVP partnerships to improve their search results quality and attract users. SFOF ¶ 288. For

example, some data about businesses can be obtained through crawling their websites, but such

businesses limit smaller GSEs from crawling their websites while allowing Google to crawl for



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free. Tr. 2677:4-9 (Parakhin); Tr. 6174:8-6175:8 (Barrett-Bowen). Also, certain smaller

businesses expend time and money to update their information on Google (because of its

dominant market share), but not on other GSEs. Tr. 2677:10-2678:9 (Parakhin). Thus, through

its monopoly power, Google has better and cheaper access to content that impacts both the

quality and perception of the quality of Bing responses to queries. SFOF ¶ 287.

       70.     Google also relies on evidence that “Microsoft has reached content agreements

with over 300 partners since 2005.” GFOF ¶ 1739. That is a misdirection. Plaintiff States’

theory of harm is not that Google’s conduct barred Microsoft and other GSE rivals from entering

into any and all content partnerships. Rather, Google’s conduct degraded rivals’ value as

partners and increased their costs in entering into such partnerships. Google does not seriously

dispute the evidence demonstrating this harm. See SFOF ¶¶ 292-96; Tr. 6182:14-21 (Barrett-

Bowen) (Bing would be able to “make a better deal” with partners if it had more user traffic); Tr.

7137:13-20 (Baker) (Bing’s “small scale” makes it “more likely that Bing would end up having

to pay for data”).

       71.     Finally, Google asserts that Microsoft cannot be harmed because it is a large

company with significant resources. GFOF ¶ 1740. But Microsoft, like all rational businesses,

uses a cost-benefit analysis when deciding whether to make investments. See JFOF ¶¶ 1069,

1072, 1075-78; see also Tr. 2750:25-2751:11 (Parakhin). Without sufficient scale, it is

economically irrational for Microsoft to enter into partnerships when faced with exorbitant

payment demands. In competitive markets, SVPs would have greater incentives to partner with

Microsoft and other rivals, and Microsoft would have more traffic to justify more competitive

terms. SFOF ¶ 299; Tr. 7138:22-7139:2 (Baker); Tr. 6527:17-6528:10, 6528:16-20, 6529:6-

6530:2 (Hurst).



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Dated: March 22, 2024   Respectfully submitted,

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                               CERTIFICATE ON SERVICE

       On March 22, 2024, I served this Plaintiff States’ Responsive Proposed Findings of Fact

by email on counsel for Google and counsel for DOJ Plaintiffs in the above-captioned matters.



 March 22, 2024                                 /s/ Matthew McKinley

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